        Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 1 of 24


                                                                          MUD rN GLERK S DfFli,-k
                                                                     c


               UNITED STATES DI STRICT CO UR T AUG 5 - 2005
          NORTHERN DISTRI C T OF GEORGIA A T A TLAN' T'A LUTHE u+erk
                                                                           By:
JOHN R. BENNETT , STACEY  )                      pub'                     ~~E
ANDREW MCNAB, and         }
SHARON M. JONES,        }
                          }
         Plaintiffs,     }
                          }
v.                         )
                                 }
                                               Civil Action No .
                                                                                     -GET
CITY OF MORROW , GEORGIA , )
and JOHN T . LAMPL , individually)
                                                1    05 cv           20 41
and in his official capacity, )
                                               JURY TR IAL DEMANDE D
              Defendants.               }

                                COMPLAINT

        Plaintiffs are police officers employed by the City of Morrow . They

bring this action under the Fair Labor Standards Act of 1938 (as amended)

(29 U .S.C. §201 et seq.), hereinafter "the FLSA", and 42 U .S .C . § 1983,

hereinafter "Section 1983", to obtain compensatory and punitive damages

and reinstatement of their employment, and to recover unpaid back wages

and an additional amount as liquidated damages and reasonable attorneys'

fees.



                                                             ORIGINAL

                                                                         WSi3€
                                                                         Consent To US Mag
                                                                         PretFiallNSwucilons
                                                                         i#t1e YII mc
      Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 2 of 24




                             INTRODUCTION

                                       1.

      Plaintiffs John R. Bennett (hereafter " Plaintiff Bennett ") a n d Sharon

M . Jones (hereafter "Plaintiff Jones") are Lieutenants on the Morrow police

force . Plaintiff Stacey Andrew McNab (hereafter "Plaintiff McNab") is a

Sergeant on that squad . Prior to June 1, 2005, Plaintiffs Bennett and Jones

were classified by the Defendant City of Morrow as exempt from the

minimum wage and overtime requirements of the FLSA . On August 23,

2004, new federal regulations governing defining and delimiting FLSA

overtime exemptions, the Fair Pay Amendments, 29 CFR Part 541, became

effective. Under new Part 541 .3, police officers are not considered exempt

from the minimum wage and overtime provisions of the FLSA if,

             regardless of rank or pay level, (they) perform
             police work such as . . . rescuing crime or accident
             victims; preventing or detecting crimes ;
             conducting investigations or inspections for
             violations of law ; performing surveillance ;
             pursuing, restraining and apprehending suspects ;
             detaining or supervising suspected and convicted
             criminals, including those on probation ;
             interviewing witnesses ; interrogating suspects ;
             preparing investigative reports ; or other similar
             work.

Plaintiffs Bennett and Jones regularly performed work within the meaning of

Part 541 .3 . In April 2005, upon learning that they had been misclassified as



                                       2
      Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 3 of 24




exempt, Plaintiffs requested both a change in classification to non-exempt,

and backpay for work performed since August 23, 2004 . Defendants

responded by agreeing to prospectively reclassify them as non-exempt, but

refusing to afford them backpay. Plaintiffs then filed grievances in

accordance with the process and procedure then set out in the Personnel

Rules and Regulations of the City of Morrow . In their gnevances, Plaintiffs

requested, inter alca, backpay in accordance with the FLSA . Also in April

2005, Plaintiff McNab contacted a website with the URL address

www .FLSA .com to question the legality of a recent change in policy

concerning the use of city owned vehicles . In response to the Plaintiffs

complaints concerning the Defendants' compliance with the FLSA,

Defendants engaged in retaliatory conduct . On June 10, 2005, Defendants

placed Plaintiff Bennett on "administrative leave pending termination" . On

June 17, 2005, Defendants placed Plaintiffs Jones and McNab on

"administrative leave pending termination ." In July 2005, Defendants

changed the city's grievance procedure by making its use discretionary on

the part of Defendant John T . Lampl, and by denying Plaintiffs the right to

petition the Morrow City Council for redress . On August 2, 2005,

Defendants terminated Plaintiff McNab and served Plaintiff Bennett with a

memorandum styled "Proposed Termination of Employment" . Through



                                       3
      Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 4 of 24




their actions, Defendants engaged in illegal retaliation against Plaintiffs

within the meaning of FLSA § 15(a)(3), 29 U .S .C . §215(a)(3) ; and under

color of law depnved the Plaintiffs of rights that are guaranteed under both

the FLSA and the First Amendment to the Constitution of the United States,

in violation of 42 U .S.C . § 1983 .

                        JURISDICTION AN D VENUE

                                        2.

       This Court has jurisdiction over the present action under Article FII,

§2 of the United States Constitution, 42 U .S C . § 1983, FLSA § 16(b), 29

U .S.C §216(b), 28 U.S .C §§1331 and 1337, because this case arises under

the FLSA, a federal statute that affects interstate commerce

                                        3.

       Venue properly lies in the Northern District of Georgia under 28

U .S.C § 1391 because Defendant John T . Lampl resides in this judicial

district; Defendant City of Morrow is located in this judicial district ; and all

the events giving rise to the claims herein arose in this judicial district .

                                 THE PARTIES

                                        4.

       Plaintiff Bennett is a citizen of the United States and of the State of

Georgia and resides within Gwinnett County, Georgia At all times material



                                         4
      Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 5 of 24




hereto, Plaintiff Bennett has been an "employee" as defined in FLSA

§3(e)(2)(C), 29 U .S.C. §203(e)(2)(C) .

                                          5.

      Plaintiff Jones is a citizen of the United States and of the State of

Georgia and resides within Henry County, Georgia . At all times material

hereto, Plaintiff Jones has been an "employee" as defined in FLSA

§3(e)(2)(C), 29 U .S.C. §203(e)(2)(C) .

                                      6.

      Plaintiff McNab is a citizen of the United States and of the State of

Georgia and resides within Spalding County, Georgia . At all times material

hereto, Plaintiff McNab has been an "employee" as defined in FLSA

§3(e)(2)(C), 29 U S .C. §203(e)(2)(C) .

                                          7.

      Defendant City of Morrow is a municipal corporation organized under

the Constitution and laws of the State of Georgia . At all times material

hereto, Defendant City of Morrow has been an "employer" as defined in

FLSA §3(d), 29 U .S.C . §203(d), and an "enterprise engaged in commerce"

as defined in FLSA §3(s)(1)(C), 29 U .S .C . §203(s)(1)(C) and a "public

agency" as defined in FLSA §3(x), 29 U S .C . §3(x) .




                                          5
      Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 6 of 24




                                        8.

      Defendant John T. Lampl (hereafter "Defendant Lampl") is a citizen

of the United States and of the State of Georgia and resides within Clayton

County Georgia At all times material hereto, Defendant Lampl has been

employed as the City Manager of Defendant City of Morrow and has been

an "employer" as defined in FLSA §3(d), 29 U .S.C §203(d) .

                                       9.

      At all times material hereto, Plaintiffs were employed by Defendant

City of Morrow as law enforcement officers within the Morrow Police

Department.

                                       10.

      Since August 23, 2004, as law enforcement officers for Defendant

City of Morrow, Plaintiffs have performed such work as rescuing fire, crime

or accident victims ; preventing or detecting crimes ; conducting

investigations or inspections for violations of law ; performing surveillance ;

pursuing, restraining and apprehending suspects ; detaining or supervising

suspected and convicted criminals ; interviewing witnesses; interrogating and

fingerprinting suspects ; preparing investigative reports ; and other similar

work, within the meaning of 29 CFR §541(b)(1) .




                                        6
      Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 7 of 24




                                      11 .

         Since August 23, 2004, Plaintiffs have been law enforcement

employees covered by the FLSA and entitled to the minimum wage and

overtime protections set forth in FLSA §§6 and 7(k), 29 U .S .C. §§ 206,

207(k)

                                      12 .

         Since August 23, 2004, Defendant City of Morrow has wrongfully

and unlawfully classified the Plaintiffs Bennett and Jones as exempt from

the minimum wage and overtime protections set forth in FLSA §§6 and 7(k),

29 U .S .C § § 206, 207(k) .

                                      13

      At all times material hereto, Defendant City of Morrow paid its non-

exempt employees, including Plaintiff McNab, on a biweekly basis in

accordance with FLSA §2(k)(2),29 U .S.C. §207(k)(2) .

      A. Non-exempt employees were paid one twenty-s ixth ( 1126) of

      their annual salaries on the basis of eighty (80) hours worked in each

      fourteen day period .

      B . In addition, non-exempt employees have been paid one

      eightieth (1 1 80) of their fourteen day salary for each hour worked




                                       7
      Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 8 of 24




      above eighty (80), but not more than eighty-six (86), in each fourteen

      day work penod .

      C . Finally, non-exempt employees were paid the equivalent of one

      eightieth (1/80) of their fourteen day salary multiplied by 1 .5 for each

      hour worked over eight-six (86) in each fourteen day period .

                                       14

      Since August 23, 2004, Defendant City of Morrow willfully and

repeatedly failed to compensate Plaintiffs Bennett and Jones for time worked

in excess of eighty (80) hours up to eighty-six (86) hours in each fourteen

day period.

                                       15 .

      Since August 23, 2004, Defendant City of Morrow willfully and

repeatedly failed to compensate Plaintiffs Bennett and Jones for time worked

in excess of eighty-six (86) hours in each fourteen day period .

                                   COUNT I

Failure to compensate Plaintiff John R . Bennett in accordance with the

                                     FLSA.

                                       16.

      The allegations contained in Paragraphs 1 through 15 above are

incorporated by reference as if fully set out in this Paragraph .



                                        8
      Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 9 of 24




                                        17

        As a result of the underpayment of wages and overtime compensation

as alleged in Paragraphs 14 and 15 above, Defendant City of Morrow is

indebted to Plaintiff Bennett in the amount of $3,400 .68, in accordance with

FLSA § lb (b), 29 U.S .C . §216(b), which amount Plaintiff Bennett has

demanded of Defendant City of Morrow and Defendant City of Morrow has

willfully and repeatedly refused to pay .

                                        18 .

        P laintiff Bennett is entitled to liquidated damages in the amount of

$3,400.68 in addition to the unpaid wages set forth in Paragraph 17, in

accordance with FLSA § 16 (b), 29 U.S .C . §216(b), because Defendant City

of Morrow has willfully and repeatedly violated the FLSA .

                                       19 .

        Defendant City of Morrow's failure and refusal to make the above

payments to Plaintiff Bennett in accord with its legal obligations is in bad

faith, is intended to require, and has required, Plaintiff Bennett to incur the

trouble, inconvenience and expense of attorneys fees and costs to deter

Plaintiff from seeking payment of unpaid wages due him, and is stubbornly

litigious .




                                        9
     Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 10 of 24




                                  COUNT II

Failure to compensate Plaintiff Sharon M . Jones in accordance with the

                                     FL SA .

                                       20.

      The allegations contained in Paragraphs 1 through 19 above are

incorporated by reference as if fully set out in this Paragraph .

                                       21 .

      As a result of the underpayment of wages and overtime compensation

as alleged in Paragraphs 14 and 15 above, Defendant City of Morrow is

indebted to Plaintiff Jones in the amount of $1,455 .90, in accordance with

FLSA §16 (b), 29 U.S .C §216(b), which amount Plaintiff Jones has

demanded of Defendant City of Morrow and Defendant City of Morrow has

willfully and repeatedly refused to pay .

                                       22 .

      Plaintiff Jones is entitled to liquidated damages in the amount of

$1,455 .90 in addition to the unpaid wages set forth in Paragraph 21 above, in

accordance with FLSA § 16 (b), 29 U .S .C . §216(b), because Defendant City

of Morrow has willfully and repeatedly violated the FLSA .




                                        10
      Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 11 of 24




                                       23 .

        Defendant City of Morrow's failure and refusal to make the above

payments to Plaintiff Jones in accord with its legal obligations is in bad

faith, is intended to require, and has required, Plaintiff Jones to incur the

trouble, inconvenience and expense of attorneys fees and costs to deter

Plaintiff from seeking payment of unpaid wages due her, and is stubbornly

litigious .

                                  COUNT III

              Illegal Retaliation against Plaintiff John R . Bennett

                                       24 .

        The allegations contained in Paragraphs 1 through 23 above are

incorporated by reference as if fully set out in this Paragraph .

                                       25 .

        Beginning in early May, 2005 and continuing through June 10, 2005,

Plaintiff Bennett had a series of conversations with Morrow Chief of Police

Charlie Sewell during which Plaintiff Bennett complained that he and other

Morrow Lieutenants had been improperly classified as exempt and were

entitled to backpay .




                                        I1
     Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 12 of 24




                                      26

       Plaintiff Bennett's complaints as set forth in Paragraph 25 above

constitute protected activity within the meaning of FLSA §15(a)(3), 29

U .S .C . §215(a)(3)

                                      27 .

       On June 10, 2005, Plaintiff Bennett filed a grievance in accordance

with the Defendant City of Morrow Personnel Rules and Regulations in

which he complained as follows :

              It is our understanding that on August 23 2004, the
              Fair Labor Standards Act clarified their position on
              what an exempt employee was in public service .
              This issue was raised with you and you reclassified
              the Shift Commanders to "non-exempt" on May 8,
              2005 . This complaint involves the actual physical
              hours worked by these employees at this
              department without compensation . Since the
              department does not have a policy in place to
              compensate these unpaid hours worked through
              "comp time", then we are asking for monetary
              compensation .

                                      28 .

       Plaintiff Bennett's complaints as set forth in Paragraph 27 above

constitute protected activity within the meaning of FLSA § 15{a}(3), 29

U.S .C . §215(a)(3) .




                                       12
     Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 13 of 24




                                       29 .

       On June 10, 2005, in retaliation for Plaintiff Bennett's protected

activities, Defendants placed Plaintiff John R Bennett on "administrative

leave pending termination", in violation of FLSA §15{a}(3), 29 U .S.C .




                                       30.

       On August 2, 2005, in retaliation for Plaintiff Bennett's protected

activities, Defendants served Plaintiff Bennett with a document styled

"Proposed Termination of Employment", in violation of FLSA § 15(a)(3), 29

U S .C . §215(a)(3) .

                                   COUNT IV

            Illegal Retaliation against Plaintiff Sharon M . Jones

                                       31 .

       The allegations contained in Paragraphs 1 through 30 above are

incorporated by reference as if fully set out in this Paragraph .

                                       32 .

       On April 8, 2005, Plaintiff Jones complained to Morrow Chief of

Police Charlie Sewell that she and other lieutenants had been misclassified

as exempt from the overtime provisions of the FLSA and requested to be

reclassified and given backpay .



                                        13
     Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 14 of 24




                                       33 .

       Plaintiff Jones' complaints as set forth in Paragraph 32 above

constitute protected activity within the meaning of FLSA § 15(a)(3), 29

U .S .C . §215(a)(3) .

                                       34.

       On May 13, 2005, the Morrow Police Department conducted a staff

meeting during which Plaintiffs and other employees were warned of

adverse "consequences" if they pursued efforts to obtain backpay in

accordance with the FLSA .

                                       35 .

       On June 10, 2005, Plaintiff Jones filed a grievance in accordance with

the Defendant City of Morrow Personnel Rules and Regulations in which

she stated as follows :

               A second formal grievance is also being generated
               by Lt. Bennett, Lt . White and I. This formal
               grievance addresses the back pay which is owed to
               each of us as a result of the wrongful "exempt"
               classification we were placed on after the Fair Pay
               Act Amendment was passed on August 23, 2004 .

                                       36.

       Plaintiff Jones' complaints as set forth in Paragraph 35 above

constitute protected activity within the meaning of FLSA § 15(a)(3), 29

U.S .C . §215(a)(3) .


                                        14
     Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 15 of 24




                                      37 .

      On June 10, 2005, Plaintiff Jones filed a grievance in accordance with

the Defendant City of Morrow Personnel Rules and Regulations in which

she complained as follows :

             It is our understanding that on August 23, 2004,
             the Fair Labor Standards Act clarified their
             position on what an exempt employee was in
             public service . This issue was raised with you and
             you reclassified the Shift Commanders to "non-
             exempt" on May 8, 2005 . This complaint involves
             the actual physical hours worked by these
             employees at this department without
             compensation . Since the department does not have
             a policy in place to compensate these unpaid hours
             worked through "comp time", then we are asking
             for monetary compensation .

                                      38 .

      Plaintiff Jones' complaints as set forth in Paragraph 37 above

constitute protected activity within the meaning of FLSA § 15(a)(3), 29




                                      39 .

      On June 17, 2005, in retaliation for Plaintiffs protected activities,

Defendants placed Plaintiff Jones on "administrative leave pending

termination", in violation of FLSA §15(a)(3), 29 U .S .C . §215(a)(3) .




                                       15
     Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 16 of 24




                                      COUNT V

        Illegal Retaliation against Plaintiff Stacey Andrew McNab

                                        40.

      The allegations contained in Paragraphs 1 through 39 above are

incorporated by reference as if fully set out in this Paragraph .

                                        41

       In April 2005, Defendant City of Morrow changed its policy

regarding the ability of plain clothes officers to use their city provided

vehicles to travel to and from work . Under the new policy, such officers

would no longer be entitled to take the city vehicles home if they resided

more than five miles beyond the Morrow city limits . This change in policy

had a significant adverse effect on Plaintiff McNab . In April 2005, while on

his lunch break, Plaintiff McNab used his city-supplied computer to view a

website with the URL address www FLSA com . Plaintiff McNab entered a

complaint and a query on that website concerning the lawfulness of the

change in car policy . He also printed a copy of said complaint and sent it to

his supervisor, Plaintiff Bennett .

                                        42 .

      Plaintiff McNab's inquiry to the www .FLSA .com website, and

providing a copy of his complaint to his supervisor, regarding his concerns



                                         16
    Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 17 of 24




about the change in the take home automobile policy as described in

Paragraph 41 above constitute protected activity within the meaning of

FLSA § 15(a){3}, 29 U . 5 .C . §215(a)(3) .

                                        43 .

       On June 9, 2005, Plaintiff McNab added his name as a signatory to

the grievance filed by Plaintiff Sharon M . Jones and described in Paragraph

37 above .

                                        44

       Plaintiff McNab's complaints as set forth in Paragraph 43 above

constitute protected activity within the meaning of FLSA § 15(a)(3), 29

U.S .C . §215(a)(3) .

                                        45 .

       On June 15, 2005, Defendant Lampl confronted Plaintiff McNab

regarding the email query to the FLSA website, stating that it was an act of

disloyalty on Plaintiff McNab's part to view the website . Defendant Lampl

further instructed Plaintiff McNab to inform Chief of Police Sewell that he

had contacted the website .

                                        46.

       On June 17, 2005 Plaintiff McNab informed Chief Sewell that he had

viewed the FLSA website . Chief Sewell then informed Plaintiff McNab that



                                         17
    Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 18 of 24




he was being placed on "administrative leave pending termination ." Upon

information and belief, Defendant Lamps directed Chief Sewell to take said

action and Chief Sewell was merely a conduit for Defendant Lampl's order .

                                          47.

       Defendants placed Plaintiff McNab on "administrative leave pending

termination" in retaliation for his protected activity, in violation of FLSA

§ 15(a)(3), 29 U .S .C. §215(a)(3) .

                                          48.

       On August 2, 2005, in retaliation for his protected activities,

Defendants terminated Plaintiff McNab's employment in violation of FLSA

 15(a)(3), 29 U .S .C . §215(a)(3) . The letter of termination expressly states

that Plaintiff McNab was terminated because of "a complaint you sent to the

Department of Labor."

                                       COUNT VI

                             Section 1983 Violations

                                          49

      The allegations contained in Paragraphs 1 through 48 above are

incorporated by reference as if fully set out in this Paragraph .




                                          18
     Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 19 of 24




                                       50.

       Defendants have singled out Plaintiffs for adverse treatment in

retaliation for having filed grievances and otherwise asserting their own

rights and the rights of similarly situated employees under the FLSA .

                                       51 .

       In July 2005, Defendants changed the City's grievance procedure in

several substantial respects . The new policy makes the processing of a

grievance discretionary on the part of Defendant Lampl and expressly

proscribes the Plaintiffs' rights to petition the government for redress .

                                       52 .

       Defendants, acting under color of law, have deprived Plaintiffs of

their rights under the FLSA and the First Amendment to the Constitution of

the United States to petition the government for redress of legal wrongs, in

violation of 42 U .S .C . § 1983 .



WHEREFORE, Plaintiffs respectfully pray :

1 . That Plaintiff's claims be teed before a jury .

2. That the Court issue injunctive relief pursuant to FLSA § 16(b), 29 U .S.C .

   216(b), reinstating Plaintiff McNab ; and




                                        19
    Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 20 of 24




3 . That the Court issue injunctive relief pursuant to FLSA § 16(b), 29 U .S .C .

   217, barring the termination of Plaintiffs Bennett and ones ; and

4 . As to Count 1, that Plaintiff Bennett be awarded against Defendants

   $3,400 .68 in unpaid wages due under the FLSA, plus an additional

   $3,400 .68 in liquidated damages due because of the Defendants' willful

   and repeated disregard for its obligations and Plaintiff's Bennett's rights

   under the FLSA, plus prejudgment interest thereon, plus Plaintiff

   Bennett's reasonable attorneys fees and costs ; and

5. As to Count II, that Plaintiff Jones be awarded against Defendants

   $1,455 .94 in unpaid wages due under the FLSA, plus an additional

   $1,455 .90 in liquidated damages due because of the Defendants' willful

   and repeated disregard for its obligations and Plaintiffs Jones ' rights

   under the FLSA, plus prejudgment interest thereon, plus Plaintiff Jones'

   reasonable attorneys fees and costs, and

6. As to Counts III-VI, that Plaintiffs be awarded compensatory damages

   against the Defendants jointly and severally in an amount to be

   determined at trial ; and

7 . As to Counts III-V1, that Plaintiffs be awarded punitive damages against

   the Defendants jointly and severally in an amount to be determined at

   trial ; and



                                       20
    Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 21 of 24




8 . That Plaintiffs be awarded attorneys fees and expenses of litigation from

   Defendants ; and

9. For such other and further relief as the Court deems just and proper.




                                       Respectfully submitted,




                                       Kevin D' Fitzpatrick, Jr.
                                       Georgia Bar No . 262375


3100 Centennial Tower
101 Marietta Street, N .W.
Atlanta, GA 30303
Kevin .fitzpatrick(cidcnblaw.com
(404) 979-3150
(404) 979-3170 (fax)




                                      21
     Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 22 of 24




               UNI TE D STATES DISTRICT COURT
          NORTHERN DISTRICT OF GEO RGIA AT ATLANTA

JOHN R. BENNETT , STACEY  )
ANDREW MCNAB, and         )
SHARON M . JONES,        )

                  Plaintiffs ,             )

v                                    }             Civil Action No.

CITY OF MORROW , GEORGIA , }
and JOHN T . LAMPL, individually)
and in hi s official capacity, )

                  Defendants .              }

                                         VERIFICATION

        Personally appeared JOHN R. B ENNETT, who after being duly

sworn states that the facts set forth in the foregoing Complaint are true to the

best of his knowledge and belief.




                                                          ?&-
                                              '-iOHN R. BENNETT


Sworn to and subscribed before me
this 5`h day of August, 2005 .



 fbtaP~blic ~
 ~e3ery Public. MWslb County, Georgi a
  My Commission Expires April 25, 2009



                                              22
      Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 23 of 24




                  UNITED STATES DISTRICT COURT
           N OR THERN DISTRICT OF GEOR GIA AT ATLANTA

JOHN R. BENNETT , STACEY  )
ANDREW MCNAB, and         }
SHARON M . JONES,        )
                          }
         Plaintiffs,      )

v.                                       )             Civil Action No .

CITY OF MORROW, GEORGIA , )
and JOHN T . LAMPL , individually)
and in his official capacity, )

                   Defendants .                    )

                                             VERIFICATION

         Personally appeared S HARON M . JONES, who after being duly

sworn states that the facts set forth in the foregoing Complaint are true to the

best of her knowledge and belief.




                                                                ~-
                                                       ~       c

                                                   SHARON M. JONES


Sworn to and subscribed before me
this 5 " day of Aqgust, 2005 .



' wora'6, Publ it
Notary Public, be K alb Co anty, Geo r g'a
 My Commis s ion Expires April 25, 2 09


                                                  23
      Case 1:05-cv-02041-GET Document 1 Filed 08/05/05 Page 24 of 24




                 U NI TED STATES DISTRI CT COURT
          NOR TH ERN DISTRICT OF GEO RG I A AT ATLANTA

JOHN R . BENNETT , STACEY  }
ANDREW MCNAB, and          )
SHARON M . JONES,         )

                 Plaintiffs ,             }

v.                                     )           C ivil Action No.

CITY OF MORROW , GEORGIA , }
and JOHN T . LAMPL , individually)
and in his official capacity , )
                                           }
                 Defendants.              )

                                       VERIFI CATION

        Persona lly appeared STACEY ANDREW MCNAB, who after being

duly sworn states that the facts set forth in the foregoing Complaint are true

to the best of his knowledge and belief.




                                                                       l


                                                 T Y AN DREW MC AB

Sworn to and subscribed before me
this S`h day of August, 2005 .




LLc7
 / t f       - 'C-- -~k -
              1c
NMq Pabllc, T]eKalb C ounty, Georgia
 NLyCommissron Expires Aonl 25, 2G09




                                            24
